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                     EXHIBIT 2
                   Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 2 of 22
2/9/23, 10:49 PM                                                                      001




 --




 FAX: (520) 300-8033




                                                                                      1/1
             Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 3 of 22
                                                                                                                002

BP-A0243          APPLICATION TO ENTER INSTITUTION AS REPRESENTATIVE                         CDFRM
4&15

U.S. DEPARTMENT OF JUSTICE                                             FEDERAL BUREAU OF PRISONS


                                                GENERAL

      This information is provided pursuant to Public Law 93 - 579, the Privacy Act
of December 31, 1974.




                                          PURPOSES AND USES

      The information you supply may be used as a basis for an investigation regarding
your correspondence with              Keith Alan Raniere                 and admission to visit
this person at United States Penitentiary at Tucson, Arizona . In the process of conducting the
investigation, the Bureau of Prisons may disclose the information to federal, state,
or local law enforcement agencies.




                                     EFFECTS OF NONDISCLOSURE

      You are not required to supply the information requested on the attached form.
If you do not furnish the information requested, the processing of your request will
be suspended, and you will receive no further consideration. If you furnish only part
of the information required, the processing of your request will be attempted;
however, it may be significantly delayed. If the information withheld is found to be
essential to processing your request properly, you will be so informed, and your
request will receive no further consideration unless you supply the missing
information. Although no penalties are authorized for failure to supply the requested
information, failure to supply the information could result in your not being
considered for or allowed admittance to the institution or correspondence privileges
with the inmate in question.




APPLICATION TO ENTER INSTITUTION AS THE REPRESENTATIVE OF A LICENSED ATTORNEY OR TO CORRESPOND WITH A
FEDERAL PRISONER AS THE REPRESENTATIVE OF A LICENSED ATTORNEY

This form has three parts:
1. Questionnaire : The questionnaire is to be completed by each paralegal employee, legal assistant, clerk
or student who seeks to enter an institution of Federal Bureau of Prisons as the representative of a
licensed attorney to visit a federal prisoner or to correspond with a federal prisoner as the attorney’s
representative.
2. Certification : The person seeking to enter a federal institution or to visit or correspond with a
federal prisoner must sign the certification which follows the questionnaire.
3. Attorney’s Statement : The licensed attorney must sign this statement.


                                                                                                            1
       PDF                                   Prescribed by P1315            Replaces BP-243(13) of JUL 90
              Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 4 of 22
                                                                                                                         003
                                                    QUESTIONNAIRE
(NOTE: Answer all questions. If a question does not apply to you, write “Not Applicable” in the space
provided for the answer.)
1. Name:     Suneel Chakravorty
2. a. Any alias or other name ever used:
     Name:                                                          When used:
     Name:                                                          When used:
     b. Date of Birth:
3.
     a. Present Address:
     b. How long at this address?    2.5 weeks
     c. List all previous addresses (Including Street and Number, City and State) for the last five years
     and dates you resided at each address:




4.
a. Present place of employment:
     b. Name of immediate supervisor:    N/A
     c. Employer’s business address:
     d. Employer’s business phone:
     e. List all previous employers for the past five years, including employer’s addresses and dates of
        your employment with each employer:
                 Employer                              Address                        Dates of Employment


                                         1




5.List all schools, universities, or other educational institutions attended from grade 10 to present
(This should include any and all legal training that you have received):
        School                                  Address                            Degree and date received
Harvard College                         86 Brattle Street, Cambridge, MA 02138      A.B. in Mathematics, May 2011
Suncoast Community High School          1717 Avenue S, Riviera Beach, FL 33404      High School Degree, May 2007


6. Have you ever been convicted of ANY criminal offense?            If so, complete the following. You may exclude
     any convictions for minor traffic violations (fine of $50 or less).
        Offense                              Date of Conviction                    Name, Location of Court




7. Have you ever been confined in any jail, prison or penal institution? If so, complete the following:
         Type of Institution                              Location                      Dates of Confinement
 (State, Federal, Municipal, County)




                                                                                                                     2
        PDF                                        Prescribed by P1315               Replaces BP-243(13) of JUL 90


               Text
                  Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 5 of 22
                                                                                                                                                                  004


8. Have you ever been denied permission to visit or correspond with any inmate by an institution within
    the Federal Bureau of Prisons?                            Yes               If so, which institutions, with which inmate, and when?
Keith Alan Raniere, # 57005-177, MDC Brooklyn (phone, social visitation, email, July 2020), USP Tucson (social visitation May 2021, phone May 2022)

9. Are you a citizen of the United States?                                 Yes             If not, give the name of the country of which you
    are a citizen or subject.
STATEMENT OF APPLICANT SEEKING TO ENTER AN INSTITUTION TO VISIT OR TO CORRESPOND WITH A FEDERAL AS THE
REPRESENTATIVE OF A LICENSED ATTORNEY
       I certify that I am authorized to act as the legal representative of Joseph M. Tully
            , who is a licensed member of the bar of the State of     California     . I request that I
be allowed to interview and correspond with      Keith Alan Raniere                     ,who is confined
at           USP Tucson             . I am aware of my responsibility as a representative of the above-
named attorney and certify that I am able to meet this responsibility. I am also aware of the Bureau of
Prison’s Policy on Inmate Legal Activities and certify that I am able to and will adhere to the
requirements of this policy.     I pledge to abide by Bureau of Prisons regulations and Institution
guidelines.
       I hereby certify that all of the information contained in this questionnaire is true and correct
to the best of my knowledge.       Furthermore, I understand that all information contained in this
questionnaire may be investigated and verified through the use of federal, state, and local authorities.
Applicant’s printed name: Suneel Chakravorty
Applicant’s signature:
Date completed:             June 17, 2022
                                                            STATEMENT OF SPONSORING ATTORNEY
             I hereby certify that I am a licensed member of the bar of the State of California    and that I
employ or supervise Suneel Chakravorty                     . I authorize Suneel Chakravorty                to
represent me and request that as my representative he/she be allowed to interview and correspond with
Keith Alan Raniere                      who is currently confined at USP Tucson                  . I further
certify that Suneel Chakravorty           is aware of the responsibility of his/her role as my representative
and is able to meet this responsibility. I pledge that I will supervise my representative’s activities.
I accept personal and professional responsibility for all acts of my representative which affect the
institution, its inmates or staff.

Attorney’s printed name:                  Joseph M. Tully

Attorney’s signature:
Date completed:            06/17/2022




                                                                                                                                                              3
          PDF                                                             Prescribed by P1315                                 Replaces BP-243(13) of JUL 90
                   Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 6 of 22
2/9/23, 10:51 PM                                                                                             005




 The Warden decided to permit a legal call between Mr. Chakravorty and Mr. Raniere in his discretion.

 Mr. Stoltz had three legal visits this week alone with Mr. Raniere, with the most recent one occurring
 today. This new legal visit request will have to await Counselor Flores's return on Sunday to see if he
 is able to accommodate a legal visit that morning. Thanks.

 CCC

 Clay C. Cook
 Supervisory Attorney


 United States Department of Justice
 Federal Bureau of Prisons


 Phoenix Consolidated Legal Center
 37900 North 45th Avenue
 Phoenix, AZ 85086
 Ofﬁce: (623) 465-5120
 E-Mail: c2cook@bop.gov
           clay.cook@usdoj.gov

 From: Stacy Scheff <stacy@schefﬂaw.com>
 Sent: Friday, June 17, 2022 2:49 PM
 To: Cook, Clay (BOP) <c2cook@bop.gov>
 Cc: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Gregory Stoltz
 <greg@gstoltzlaw.com>; Suneel Chakravorty                                  >; Joseph Tully <joseph@tully-
 weiss.com>; Faulk, Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ) <MAmbri@usa.doj.gov>
 Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re:
 [EXTERNAL] Keith Raniere - Emergency visit for Suneel Chakravorty

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2/9/23, 10:51 PM                                                                                              006




 FAX: (520) 300-8033




     The legal call has been confirmed for Sunday from 1 p.m. to 3 p.m. Mr. Raniere will have to be
     present in his cell for count time thereafter. Please provide the best phone number to use to
     facilitate the legal call. Thanks.


     CCC

     Clay C. Cook
     Supervisory Attorney


     United States Department of Justice
     Federal Bureau of Prisons


     Phoenix Consolidated Legal Center
     37900 North 45th Avenue
     Phoenix, AZ 85086
     Ofﬁce: (623) 465-5120
     E-Mail: c2cook@bop.gov
              clay.cook@usdoj.gov

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     Sent: Friday, June 17, 2022 2:20 PM
     To: Cook, Clay (BOP) <c2cook@bop.gov>
     Cc: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Gregory Stoltz
     <greg@gstoltzlaw.com>; Suneel Chakravorty                                  >; Joseph Tully
     <joseph@tully-weiss.com>; Faulk, Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ)
                                                                                                              2/8
                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 8 of 22
2/9/23, 10:51 PM                                                                                              007
     <MAmbri@usa.doj.gov>
     Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Keith Raniere
     - Emergency visit for Suneel Chakravorty




     FAX: (520) 300-8033




        Mr. Chakravorty will not be allowed a legal visit, with or without an accompanying attorney. Please
        advise on a time/duration for the legal call on Sunday if that is what you choose. Thanks.


        CCC

        Clay C. Cook
        Supervisory Attorney


        United States Department of Justice
        Federal Bureau of Prisons


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        37900 North 45th Avenue
        Phoenix, AZ 85086
        Ofﬁce: (623) 465-5120
        E-Mail: c2cook@bop.gov
                   clay.cook@usdoj.gov

        From: Stacy Scheff <stacy@schefﬂaw.com>
        Sent: Friday, June 17, 2022 2:04 PM
        To: Cook, Clay (BOP) <c2cook@bop.gov>; Gregory Stoltz <greg@gstoltzlaw.com>
        Cc: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Suneel
        Chakravorty <                              >; Joseph Tully <joseph@tully-weiss.com>; Faulk, Denise
                                                                                                             3/8
                     Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 9 of 22
2/9/23, 10:51 PM                                                                                     008
        (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ) <MAmbri@usa.doj.gov>
        Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Keith Raniere - Emergency
        visit for Suneel Chakravorty




        FAX: (520) 300-8033




           FAX: (520) 300-8033




              Ms. Scheff,


                   The Warden has denied the request for a legal visit for Mr. Chakravorty.




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                     Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 10 of 22
2/9/23, 10:51 PM                                                                                                      009
                   In lieu of the legal visit, the Warden will permit a legal call on Sunday, June 19th, between Mr.
              Chakravorty and Mr. Raniere. If this is acceptable for you, please let me know the requested
              time and duration for the legal call. Thanks.


              CCC

              Clay C. Cook
              Supervisory Attorney


              United States Department of Justice
              Federal Bureau of Prisons


              Phoenix Consolidated Legal Center
              37900 North 45th Avenue
              Phoenix, AZ 85086
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              Cc: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Suneel
              Chakravorty <                                  >; Joseph Tully <joseph@tully-weiss.com>; Faulk,
              Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ) <MAmbri@usa.doj.gov>
              Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Keith Raniere - Emergency visit for Suneel
              Chakravorty




                   28 CFR 543.16(b)(3) and Program Statement 1315.07 at p. 19. "The Warden may required
                   each assistant to fill out and sign a personal history statement . . . ." Also, "If necessary to
                   maintain security or good order in the institution, the Warden may prohibit a legal assistant
                   from visiting or corresponding with an inmate."


                   Given Mr. Chakravorty's history of being denied social visitation and social telephone
                   privileges with Mr. Raniere at two separate BOP institutions, the NCIC form is also being
                   required so that a formal background check can be completed.


                   CCC

                   Clay C. Cook

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2/9/23, 10:51 PM                                                                                                     010
                   Supervisory Attorney


                   United States Department of Justice
                   Federal Bureau of Prisons


                   Phoenix Consolidated Legal Center
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                   E-Mail: c2cook@bop.gov
                          clay.cook@usdoj.gov

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                   Sent: Friday, June 17, 2022 12:47 PM
                   To: Cook, Clay (BOP) <c2cook@bop.gov>
                   Cc: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Suneel
                   Chakravorty <                               >; Joseph Tully <joseph@tully-weiss.com>; Faulk,
                   Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ) <MAmbri@usa.doj.gov>
                   Subject: [EXTERNAL] Re: [EXTERNAL] Keith Raniere - Emergency visit for Suneel Chakravorty




                     In addition to this form, Mr. Chakravorty also needs to fill out the NCIC form so that his
                     background check can happen. The NCIC form is located on the BOP website under
                     Forms. Thanks.


                     CCC

                     Clay C. Cook
                     Supervisory Attorney


                     United States Department of Justice
                     Federal Bureau of Prisons


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                     To: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Cook,

                                                                                                                    6/8
                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 12 of 22
2/9/23, 10:51 PM                                                                                                  011
                     Clay (BOP) <c2cook@bop.gov>; Suneel Chakravorty <suneel@suneelchakravorty.com>; Joseph
                     Tully <joseph@tully-weiss.com>; Faulk, Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael
                     (USAAZ) <MAmbri@usa.doj.gov>
                     Subject: [EXTERNAL] Keith Raniere - Emergency visit for Suneel Chakravorty




                     FAX: (520) 300-8033




                   FAX: (520) 300-8033




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                   Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 13 of 22
2/9/23, 10:51 PM                                                                       012




              FAX: (520) 300-8033




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                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 14 of 22
2/10/23, 10:10 PM                                                                                          013




 We are unable to facilitate a legal visit today Sunday June 19th due to weekend vising hours for
 general population.
 We will coordinate a legal call with Mr.             tomorrow Monday June 20th.
 Please provide a time to initiate the call and duration time of the call.



 From: Stacy Scheff <stacy@schefﬂaw.com>
 Sent: Sunday, June 19, 2022 9:32 AM
 To: Suneel Chakravorty <suneel@suneelchakravorty.com>
 Cc: Cook, Clay (BOP) <c2cook@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>; Flores, Daniel (BOP)
 <d1ﬂores@bop.gov>; Gregory Stoltz <greg@gstoltzlaw.com>; Joseph Tully <joseph@tully-weiss.com>; Faulk,
 Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ) <MAmbri@usa.doj.gov>
 Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re:
 [EXTERNAL] Re: [EXTERNAL] Keith Raniere - Emergency visit for Suneel Chakravorty




 FAX: (520) 300-8033
                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 15 of 22
2/10/23, 10:10 PM                                                                                                               014




     Dear Mr. Cook:

     Thank you very much for accommodating this emergency request.


                       is the best number for the facility to reach me for the legal call.

     In case there are any technical issues with the call, is there a facility official whom I could email and/or call on the
     day of?

     Best,
     Suneel

     —
     Suneel Chakravorty

     https://www.linkedin.com/in/suneelchakravorty/




      FAX: (520) 300-8033




                                                                                                                                2/9
                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 16 of 22
2/10/23, 10:10 PM                                                                                           015
         The Warden decided to permit a legal call between Mr. Chakravorty and Mr. Raniere in his
         discretion.

         Mr. Stoltz had three legal visits this week alone with Mr. Raniere, with the most recent one
         occurring today. This new legal visit request will have to await Counselor Flores's return on
         Sunday to see if he is able to accommodate a legal visit that morning. Thanks.

         CCC

         Clay C. Cook
         Supervisory Attorney


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         Stoltz <greg@gstoltzlaw.com>; Suneel Chakravorty                                 >; Joseph Tully
         <joseph@tully-weiss.com>; Faulk, Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ)
         <MAmbri@usa.doj.gov>
         Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re:
         [EXTERNAL] Keith Raniere - Emergency visit for Suneel Chakravorty




         FAX: (520) 300-8033




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                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 17 of 22
2/10/23, 10:10 PM                                                                                             016




            The legal call has been confirmed for Sunday from 1 p.m. to 3 p.m. Mr. Raniere will have to be
            present in his cell for count time thereafter. Please provide the best phone number to use to
            facilitate the legal call. Thanks.


            CCC

            Clay C. Cook
            Supervisory Attorney


            United States Department of Justice
            Federal Bureau of Prisons
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            Stoltz <greg@gstoltzlaw.com>; Suneel Chakravorty                                >; Joseph Tully
            <joseph@tully-weiss.com>; Faulk, Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ)
            <MAmbri@usa.doj.gov>
            Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Keith
            Raniere - Emergency visit for Suneel Chakravorty




            FAX: (520) 300-8033




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                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 18 of 22
2/10/23, 10:10 PM                                                                                               017




               Mr. Chakravorty will not be allowed a legal visit, with or without an accompanying attorney.
               Please advise on a time/duration for the legal call on Sunday if that is what you choose.
               Thanks.

               CCC

               Clay C. Cook
               Supervisory Attorney


               United States Department of Justice
               Federal Bureau of Prisons
               Phoenix Consolidated Legal Center
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               Emergency visit for Suneel Chakravorty




               FAX: (520) 300-8033




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2/10/23, 10:10 PM                                                                                                     018




                    FAX: (520) 300-8033




                      Ms. Scheff,


                      The Warden has denied the request for a legal visit for Mr. Chakravorty.


                      In lieu of the legal visit, the Warden will permit a legal call on Sunday, June 19th, between
                      Mr. Chakravorty and Mr. Raniere. If this is acceptable for you, please let me know the
                      requested time and duration for the legal call. Thanks.


                      CCC

                      Clay C. Cook
                      Supervisory Attorney


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                      Federal Bureau of Prisons
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                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 20 of 22
2/10/23, 10:10 PM                                                                                                     019

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                     Suneel Chakravorty <                                >; Joseph Tully <joseph@tully-weiss.com>;
                     Faulk, Denise (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ)
                     <MAmbri@usa.doj.gov>
                     Subject: [EXTERNAL] Re: [EXTERNAL] Re: [EXTERNAL] Keith Raniere - Emergency visit for
                     Suneel Chakravorty




                       28 CFR 543.16(b)(3) and Program Statement 1315.07 at p. 19. "The Warden may
                       required each assistant to fill out and sign a personal history statement . . . ." Also, "If
                       necessary to maintain security or good order in the institution, the Warden may prohibit
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                       Given Mr. Chakravorty's history of being denied social visitation and social telephone
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                       being required so that a formal background check can be completed.


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                       Supervisory Attorney


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                       Cc: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>;
                       Suneel Chakravorty <                                >; Joseph Tully <joseph@tully-
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                       <MAmbri@usa.doj.gov>


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                    Case 4:22-cv-00561-RCC Document 30-3 Filed 03/23/23 Page 21 of 22
2/10/23, 10:10 PM                                                                                                       020
                      Subject: [EXTERNAL] Re: [EXTERNAL] Keith Raniere - Emergency visit for Suneel
                      Chakravorty




                        In addition to this form, Mr. Chakravorty also needs to fill out the NCIC form so that
                        his background check can happen. The NCIC form is located on the BOP website
                        under Forms. Thanks.


                        CCC

                        Clay C. Cook
                        Supervisory Attorney


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                        From: Stacy Scheff <stacy@schefﬂaw.com>
                        Sent: Friday, June 17, 2022 12:23 PM
                        To: Flores, Daniel (BOP) <d1ﬂores@bop.gov>; Mitchell, Lorri (BOP) <l1mitchell@bop.gov>;
                        Cook, Clay (BOP) <c2cook@bop.gov>; Suneel Chakravorty
                                                              >; Joseph Tully <joseph@tully-weiss.com>; Faulk, Denise
                        (USAAZ) <DFaulk@usa.doj.gov>; Ambri, Michael (USAAZ) <MAmbri@usa.doj.gov>
                        Subject: [EXTERNAL] Keith Raniere - Emergency visit for Suneel Chakravorty




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